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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                          Plaintiffs,
          v.
                                                    Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                          Defendants.



 DEFENDANTS’ NOTICE IDENTIFYING THE WITNESS PROVIDING TESTIMONY
                   AT THE JULY 10, 2025 HEARING

       On July 7, 2025, the Court issued an order scheduling a hearing for Thursday, July 10 at

1:00 pm for the purpose of addressing several topics discussed in the same order. The Court further

directed the Defendants to provide a notice identifying any witness or witnesses they intended to

call by Thursday, July 10, 2025, at 9:00 am.

       Defendants hereby provide notice that the Defendants intend to call Thomas Giles,

Assistant Director for the Immigration and Customs Enforcement’s (ICE) Enforcement and

Removal Operations (ERO) located in Los Angeles, California.
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Dated: July 10, 2025                         Respectfully submitted,

                                              BRETT A. SHUMATE
                                              Assistant Attorney General

                                              /s/ Drew C. Ensign ___________
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                                              Deputy Assistant Attorney General
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                                              Deputy Assistant Attorney General
                                              Civil Division, Torts Branch

                                              BRIDGET K. O’HICKEY
                                              Counsel to the Assistant Attorney General

                                              Attorneys for Defendants



                                 CERTIFICATE OF SERVICE

I certify that on July 10, 2025, I caused to be filed the foregoing document via CM/ECF, which

caused a copy to be served on all parties.


                                              /s/ Drew Ensign
                                              Drew C. Ensign
                                              Deputy Assistant Attorney General
                                              Civil Division, Office of Immigration Litigation




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